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                              Exhibit 7
       State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                         Abbott Laboratories, Inc., et al.

            Exhibit to the Declaration of Nicholas N. Paul in Support of
Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
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                                  Sacramento, CA

                                                                             Page 394
                    UNITED STATES DISTRICT COURT

                     DISTRICT OF MASSACHUSETTS

     -----------------------------x

     IN RE PHARMACEUTICAL INDUSTRY)

     AVERAGE WHOLESALE PRICE       )

     LITIGATION                    )

     _____________________________)

     THIS DOCUMENT RELATES TO      ) MDL No. 1456

     State of California, ex rel. ) Civil Action:

     Ven-A-Care v. Abbott          ) 01-12258-PBS

     Laboratories, Inc., et al.    )

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                                --oOo--

                     MONDAY, SEPTEMBER 22, 2008

                                --oOo--

                      VIDEOTAPED DEPOSITION OF

                     J. KEVIN GOROSPE, Pharm.D.

                                --oOo--



     Reported By:   CAROL NYGARD DROBNY, CSR No. 4018

                    Registered Merit Reporter




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                                                                             Page 698
  1
               Q.     Do you have an understanding of the
  2
        magnitude -- difference between actual acquisition
  3
        costs and AWPs for the drugs that are in the
  4
        California Complaint?
  5
                      MR. BENNETT:         Objection to form.
  6
                      THE WITNESS:         No, I don't.
  7
        BY MR. PAUL:
  8
               Q.     At any time in your career at DHCS have
  9
        you ever received any communication of any sort
 10
        from Mylan explaining the differences between the
 11
        AWPs it reports and providers' actual acquisition
 12
        costs?
 13
               A.     Not that I can recall.
 14
               Q.     At any time in your career at DHCS have
 15
        you ever received any communication of any sort
 16
        from Sandoz explaining the differences between the
 17
        actual acquisition costs for its drugs and Sandoz's
 18
        reported AWPs?
 19
               A.     Not that I can recall.
 20
               Q.     I won't restate the question each time,
 21
        but the same question regarding Dey
 22
        Pharmaceuticals?


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                                                                             Page 699
  1
               A.     Not that I recall -- not that I can
  2
        recall, no.
  3
               Q.     And Warrick?
  4
               A.     Again, the answer is no.
  5
               Q.     Schering?
  6
               A.     No.
  7
               Q.     Counsel for Sandoz showed you a letter
  8
        addressed to Gail Margolis dated December 13th,
  9
        2004.     I think for the record that's Exhibit 58.
 10
                      MS. BERWANGER:          Objection to form.                 I
 11
        don't believe I showed him that.
 12
                      MR. PAUL:        I'm sorry?
 13
                      MS. BERWANGER:          I don't believe I showed
 14
        him that exhibit.
 15
                      MR. PAUL:        Do I have the wrong number?
 16
                      I'm sorry, counsel.             I'm sorry.
 17
        BY MR. PAUL:
 18
               Q.     Counsel for Warrick showed you a letter
 19
        addressed to Gail Margolis, and it's marked as
 20
        Exhibit 58, and I think Mr. Bennett also showed you
 21
        Exhibit 60.
 22
                      No?


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